     Case 3:17-cr-00945-JM Document 40 Filed 03/19/18 PageID.112 Page 1 of 1



 1
 2
 3
 4
 5
 6
                                UNITED STATES DISTRICT COURT
 7
                            SOUTHERN DISTRICT OF CALIFORNIA
 8
 9    UNITED STATES OF AMERICA,              )     Case No. 17cr945 JM
                                             )
10                 Plaintiff,                )     AMENDED
                                             )     ORDER GRANTING JOINT
11    v.                                     )     MOTION TO ADJUST
                                             )     CUSTODY CREDITS
12    NICOLAS J. PETERS,                     )
                                             )
13                 Defendant.                )
                                             )
14
15            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT the Joint
16    Motion of the parties to award Mr. PETERS additional custody credits is hereby
17    GRANTED. Consistent with Bureau of Prisons Policy Statement 5880.28, it is the
18    intent of the Court that, with respect to the instant case AND Case No. 16-cr-798-
19    WQH, (which involved admitted violations of identical terms of supervised release in
20    December on identical bases), Mr. PETERS only serve a total aggregate sentence of 3
21    months beginning from the date of his arrest. By way of example, if the BOP is
22    calculating his date of arrest at 12/18/17, then he should be released on both cases
23    after serving a total aggregate sentence of 3 months, which is approximately March 18,
24    2018.
25            IT IS SO ORDERED.
26    DATED: March 19, 2018
27
                                                 Hon. Jeffrey T. Miller
28                                               United States District Judge
